 

Case 5:20-mj-00057-JFS Document 4 Filed 10/07/20 Page 1 of 3

THE UNITED STATES DISTRICT COURT.
~FOR THE MIDDLE DISTRICT OF PENNSYLYV.

   

 

_ IN RE SEALED MATTER: SO ete ype.
Complaint and Affidavit of oe 51 kO MN /
Probable Cause and Warrant

 

 

 

_ MOTION TO SEAL
AND ‘NOW, the: United ‘States’ of America, by its undersigned
counsel, moves pursuant to Local Rule 49 to file the documents
accompanying this Motion under seal for the reasons set forth in the
a accompanying sealed declaration in support of the government's motion oo
to seal.
| WHEREFORE, for the foregoing reasons, the United States moves.
- . to ‘seal this Motion and. the above-referenced pleadings.. For ‘the
convenience of the Court, a proposed form of Order is attached.
Respectfully submitte d,
/s/ Robert J. O'Hara
ROBERT J. OHARA ©
Assistant United States Attorney
ID No. 41294 ©
P.O. Box 309 -
Scranton, PA 18501- 0309
(570) 348-2800 (telephone)

(570) 348- 2830 (facsimile)
| robert.o ‘hara@usdoj. gov v Dated:
Case 5:20-mj-00057-JFS Document 4 Filed 10/07/20 Page 2of3 °

- THE UNITED STATES DISTRICT COURT |
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 

INRESEALED MATTER: | > 6 Re Men cae
- Complaint and Affidavit of - ON - S/ |
Probable Cause and Warrant : ce

 

 

 

 

| DECLARATION IN SUPPORT OF MOTION TO SEAL
AND NOW, the United States of America, by its undersigned
counsel, submits ‘the ‘following Declaration in Support of the
/ Government's Motion io'Beal pursuant to Logal Rule 49.
od, Your declarant states that, in the 5 view of out declarant, this
declavation and the following documents should be filed under seal’

Criminal Complaint and Affidavit of Probable Cause

| 2. The United States requests ; that the above-referenced 7
‘documents, and this Motion, yemain under seal pending:
t] | Further Order of Court; or
ix) Written notification by. the United States that

° these pleadings no longer need to remain filed
. under seal} or — ar

 

To]
3. In support of this Motion, the United States alleges that filing

| these pleadings under seal is necessary in order to:
- Case 5:20-mj-00057-JFS - Document 4° Filed 10/07/20 Page3of3.

BY Preserve the integrity of this ongoing case;
[XxX] Ensure the safety of investigative personnel; .

[J Protect the identity of potential witnesses:
xX. Allow for the seizure of evidences

[X] Permit the arrest of those charged with violations
. ‘of criminal laws: or

_ WHEREFORE, for the foregoing reasons, the United States 1 moves
to seal. this Declaration and. the above-referenced pleadings. For the |

ia convenience of the Court, a proposed form of Order is attached.

Respectfully | submitted, |

- /s/ Robert J. O’Hara
ROBERT J. O'HARA |
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Dated: October 6, 2020 oe

 
